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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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UNITED STATES OF AMERICA 2
vs. : Criminal Action No. 85-33

GEORGE NADER, 2
Defendant. : E l L` E D
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Courtroom No.r;_

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Wednesday, July 30, 1986

Trial resumed in the above-entitled matter in open
court before The Honorable JOHN GARRETT PENN, United States

District Judge, commencing at ll:25 o'clock a.m.

APPEARANCES:
For the Plaintiff:

RONALD DIXON, ESQUIRE

For the Defendant:

DAVID POVICH, ESQUIRE
RICHARD S. HOFFMAN, ESQUIRE

HARRY DEUTSCH

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Official Court Reporter Y`F(HFR{?
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Washington, D.C. 20001

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THE COURT: Gentlemen, I have sent the jury back to
the jury lounge -- they're still with us, don't be
concerned -- but I've sent them back, because there were some

matters that were raised, and I am willing to address some of
those matters at this point, in the event it may have any
effect on what takes place after.

First, with respect to the matter of the motion to
change the indictment, it is my understanding that that motion
has been withdrawn.

MR. HOFFMAN: Your Honor, in light of the voir dire
yesterday, we will not press that, so we withdraw it.

THE COURT: I can advise you, Mr. Hoffman, that you
must have anticipated my ruling, because I was prepared to
deny the motion. It seemed to me that the matter was -- you
know, I think the grand jury could have arrived at that
wording, because I think this is the type of thing that's
commonly referred to as child pornography, not to be confused
with the statute that was passed in 1984.

The second issue, of course, that was raised was
whether the government would stipulate and the effect of --
the Government had indicated it would not stipulate, and the
question was raised whether or not the members of the jury
could see the books, or whether the Court should adopt the

proposal made by defense with respect to that.

 

 

 

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If this matter were to reach the jury, the Court
would rule that the government would have a right to present
those matters to the jury, and the reason why, frankly, I
think that, really, there would be no prejudice to Mr. Nader
if this material were presented to a jury, simply because I
have seen the material, as counsel know, and there's one
booklet there whose title I still find difficult to state -- I
guess I'm old-fashioned -- but it is one involving young girls
and young boys, and I would suspect that, for example, looking
at that particular booklet, that sometimes what you do not see
is more awesome than what you actually see, and I would think
almost, based upon our voir dire questions, that the jury
might very well have a suspicion that it is worse than perhaps
it is.

I use that as an example, because I thought that book
was pathetic. It looked like the children were on a drug or
something; to me, it looked like they were really just there
and being positioned and not participants in anything. It's
disgusting, but it was pathetic, and frankly, I think that it
would be less prejudicial for a jury to see that than not to
see it, because I think they would have a feeling of what else
might be there.

The third matter that counsel raised -- and now I am
trying to think of what the third matter was.

MR. HOFFMAN; May I, Your Honor?

 

 

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THE COURT: Yes.

MR. HOFFMAN: I believe it has to do with the scope
of Agent Northrop's testimony.

THE COURT: Yes. Thank you, Mr. Hoffman.

MR. HOFFMAN: You are welcome.

THE COURT: It must be advancing age, I guess.

I have had a chance to read through both the
investigative memorandum, as redacted by the government, and
the one as redacted by the defendant, and I have read the
original of it, and first, I guess, I would ask counsel
whether -- well, I'll put it this way. Having looked at it
and having looked at that memorandum, it seems to the Court
that the material set forth on page 2, included by the
government, naturally follows the questions concerning the
controlled package.

Now, I did not go back and read the transcript of the
agent's testimony, but unless there was something that you
could point me to in that transcript, why then it just seems
to me that it naturally follows. I note, for example, it
states on page 2 -- and, for the record, this is investigative
memorandum, memorandum of interview, date of interview April
16, 1984. It identifies the people who were present at the
time of the interview, and after what the defendant would
include -- well, it reads as follows:

"He readily acknowledged that he did place the order,

 

 

 

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and that the package was properly addressed to him at his

proper personal residence," and so forth. "He was asked

if he recognized the return address bearing the name of

Ralph Zonatz in Holland. He stated that he did, and that

it was a company name that he had mail ordered child

pornography from." And then, of course, the defense would
stop there.

Then it goes on to reads "He stated that his first

experience with child pornography was in Holland, while on
a plane trip enroute to Israel. He had stopped there in
Holland for one evening and at a hotel he brought” -- I
guess it's "bought" -- "a magazine depicting young boys
engaged in sexual activity. He stated that he jotted down
the name and address of a company know as COQ Company in
Cope Haven (sic) and kept that name and address with him
so that he might correspond with them and make future
purchases of similar material depicting young boys in
sexual activity.”

And it goes on to say: "He stated that the magazine
he had purchased he left in Holland intentionally," because he
thought it would not be well received -- I am paraphrasing
now -- in Israel, and he was concerned about what could happen
in Egypt. Apparently, he was concerned that it might affect
his dealings in Israel, and he was afraid that in Egypt,

quote, "they would execute him for possession of it," end of

 

 

 

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quote,

But it does appear to me, unless counsel can point to
something else, it appears to me that this was all a part of
the question relating to the controlled package, and he was
giving an explanation as to how he came to order the package
and know where to order it, because it goes on to say, and I
am on page 3, I think:

"Through his purchases with the COQ Company, he
became familiar with the Ralph Zonatz Company, who sells
similar magazines depicting young boys engaged in sexual
activity, and thus made this particular purchase from
them. The controlled delivery package was in a sealed
condition and, without looking at the contents, he stated
he expected it to contain various magazines depicting
young boys in various sexual activities," and so forth.

So, unless there is something else that counsel can
point me to, if this case went to trial, the Court would allow
that matter to be -- allow that to be a part of his statement.

MR. HOFFMAN: Your Honor, I would like to take a
moment to explain to you our position. We have a very basic
problem, to start with, and I think it's been a little bit
overlooked. It may not make a difference in the Court's
ruling and decision, but the testimony would be on our side of
the case that Mr. Nader never made -- never made -- those

statements. We will have a witness to testify that those

 

 

 

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statements are made up by the government agent.

So we're in a little bit of a Catch-22 situation, in
terms of I know that's what it says in terms of the order
things were said, as reflected in the various memorandum and
the notes. It's obviously very difficult for us, because our
only information is that no such statements were ever made
about the Ralph Zonatz Company in ordering this material.

I only point that out because it has been said so
many times in the course of proceedings thusfar that these
statements were made. I wanted to make sure the Court
understood that there's going to be, I think, equally
substantial and credible evidence on the other side that no
such statements were made.

But in terms of the agent's own memory about this, I
call the Court's attention to page 150 of the transcript of
his testimony, where it says, the question is:

"And what did you talk about?" And this is after the
warning and reading of rights, I guess.

"We talked about all the rest of the evidence, and we
talked about all the previous evidence in a very brief
kind of way. I mean, we had already established in the
conversational flow that he recognized the controlled
delivery, that he ordered the materials," period. "He
recognized the return address. He told us of how he came

to know this company. He acknowledged doing previous

 

 

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business with them."

Now, there's no reference in this testimony to the
name Ralph Zonatz at any point, but I assume when it talks
about the return address, that's what they're referring to.

Your Honor, this interview memo is, as Your Honor
ruled at the suppression hearing, is a dictated, cleaned-up
version of the notes of the agent.

The notes of one of the agents who was there, Agent
Bloodworth, has a chronology in it, and it says that Mr. Nader
ordered the package in question, and it has that statement
after the discussion about the trip to Israel and Holland. I
don't know how it can naturally flow in the course of
conversation -- in fact, if you look at the agent's notes, it
has a general statement, and I'm quoting now from Agent
Bloodworth's handwritten notes -- I believe it is Agent
Bloodworth,

THE COURT: Is that Defendant's 7?

MR. HOFFMAN: I don't think Agent Bloodworth's notes
were admitted as an exhibit, Your Honor, because he did not
testify. It says he "ordered materials in the past. I.D.'d

the company mailed from; stopped in Israel, paren, 1981,
Holland; the magazines are everywhere while in Holland;
picked up a brochure, made subsequent orders from COQ in
Copenhagen; came across Ralph Zonatz Company there with a

catalog of COQ and Ralph Zonatz out of Holland."

 

 

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Then it says after that: "Did order the materials in

this package."

It has some other statements. I can give you a copy
of this, Your Honor, if you don't have it.

It seems to me from that -- and this is what we
contended all along at the suppression hearing, and it's
difficult because it's a credibility question, I realize --
that they showed Mr. Nader this hamper, which they
acknowledged was full of all of these other magazines, and it
was out there open, and they talked about general matters, and
he acknowledged ordering the material that they had taken from
his room, and made some general statements about how he became
acquainted with it, and then they turned to the package in
question in this case. That's our position. I think it's
supported by their handwritten notes, although I recognize
it's turned around in their dictated memorandum.

THE COURT: I would also note that, in Defendant's
Exhibit 57 -- I am sorry, Defendant's Exhibit 7 -- whose notes
are those?

MR. HOFFMAN: If it's handwritten notes, I would
assume it is Agent Northrop's.

THE COURT: All right. Because there, of course, he
does refer to some background information, and then he refers
to being the editor of the Middle East Insight, his address,

an address in Ohio, his employment, the fact that he's had no

 

 

 

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military service, and then it said "Yes, he ordered the
pornographic magazines of boys. Plane stopped in Holland,
had evening in hotel, bought a magazine, kept address COQ
Company in Copenhagen, Denmark. COQ sent a catalog to him
upon request. That's how he became familiar with Ralph
Zonatz.”

MR. HOFFMAN: That's correct, Your Honor, In fact, I
think that's precisely our point, We argued at the
suppression hearing that we did not believe it was credible
that Agent Northrop, an experienced postal service agent,
would have heard a statement by the defendant admitting
ordering the controlled delivery package and not have made a
note in the appropriate language.

Instead it says "Yes, he ordered the pornographic
magazines of boys." I think that the most logical inference
is that refers to all the other admittedly pornographic
magazines of boys that were taken from his room, not the
controlled delivery package.

And that corresponds with the order in Agent
Bloodworth's notes which distinguishes between the supposed
statement about the package and that of other material.

That's our difficulty, Your Honor, and that's why we
brought that subject up.

THE COURT: Well -- you want to say something, Mr.

Dixon?

 

 

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MR. DIXON: Yes, Your Honor. The defense may have a
difficulty with the state of the evidence as it is, and quite
naturally, they will, but, Your Honor, what the defense is
talking about at this point and, as the Court has said several
times, if this case goes to trial, it's not a matter of
admissibility, it's a matter of credibility, one that should
be argued to the jury, and that is their position.

There, I think, Mr. Hoffman is off the point, What
we're talking about now is admissibility, not credibility, not
issues that can be argued to a jury one way or the other, and,
by implication, the Court has found some credibility, has
found Agent Northrop's memorandum credible and has found his
notes credible, because the Court has ruled that Miranda was
adhered to.

All of this was thrashed out a long time ago. The
same arguments were made at that time that are being made
today. If they want to make those arguments to a jury, and if
there's evidence to support it, why then they're welcome to,
but at this juncture, we would submit, Your Honor, that the
statements that Mr. Nader made, he made after being
Mirandized, he made it in response to questions, he made it
with his attorney present, and he was talking about the
controlled delivery and giving background, and assuming that
the defense is going to be I didn't make these statements, we

would submit, Your Honor, in response to that, that Mr.

 

 

 

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Nader's statements about the background go to show yes, he
would have a reason to lie, shows his consciousness of guilt,
Your Honor, why he would have a reason to go around and around
and try to prevent people from knowing about this, He had an
interest to protect.

THE COURT: Were there any other preliminary matters?

MR. HOFFMAN: Your Honor, let me make one thing
clear. I'll try and be quick. I didn't mean to suggest that
Mr. Nader contends he made no statements. I am only talking
about the statements about the controlled delivery package.
Ms. Moolenaar admitted and acknowledged he made statements
about other materials. So just to clarify that.

The other point is, I am sure Mr. Dixon knows we
can't argue it to the jury, because he has said that he will
not bring up the fact that there were other magazines in the
case, and obviously, we can't bring it up, so we're in a
Catch-22. We can't cross-examine the agent on isn't it true
he said this with regard to other materials.

THE COURT: I would rule, if this case went to trial,
as I've indicated.

Now, of course, I believe that takes care of all the
preliminary matters, and now we face the issue of the matters
raised in the indictment itself. Of course, one question
raised with respect to 1462 is the common carrier issue.

MR. DIXON: Your Honor, if I may. If I may, just

 

 

 

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briefly, Your Honor?

THE COURT: YeS.

MR. DIXON: The common carrier issue, Your Honor, we
submit, is one that is a non-issue, and that's what we were
trying to import to the Court yesterday, maybe in a clumsy
fashion. Mr. Nader is not charged with bringing into the
United States obscene material by a common carrier. The
indictment does not charge him with that.

The indictment charges him with bringing obscene
material into the United States, and the statute reads -- it
doesn't read and/or. The statute reads either he does part A

or he does part B, or he can do them in conjunction.

The statute reads, Your Honor -- I'll just get it --
1462: "Whoever brings into the United States" -- that's the
first sentence -- "or any place subject to the jurisdiction

thereof or knowingly uses any express company or other
common carrier."
A person can violate that statute by walking across
the border and -- I want to correct myself. I made a
misstatement yesterday in arguing to the Court. A person can
violate 1462 by walking across the border between the United
States and Mexico or the United States and Canada with obscene
material on his or her person. That can happen.
You can drive -- he can drive across the border

between the U.S. and Mexico, U.S. and Canda, with obscene

 

 

 

 

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material in his car,
point, and they ask
material, he can be
THE COURT:
MR. DIXON:
THE COURT:
MR. DIXON:
didn't do it, but he
directly, and that's

with aiding and abet

that theory, Your Ho

abetting, Mr. Nader

didn't go -- he didn

to the Reed case and
Your Honor,
Those cases all good

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and if he's stopped at a border check
to search his car, and they find obscene
arrested and charged.

But of course he didn't do that.

No, sir, he did not do that.

Right.

And where we go from there is, Mr. Nader
caused it to be done. He didn't do it
why we charged him, in the alternative,

ting. He assisted whomever, Ralph Zonatz,

in bringing that material into the United States, and under

nor, under the theory of aiding and

is just as guilty as the principal. Even

though he didn't drop it in the box himself, even though he

't travel across himself and did it, he

caused it to be delivered, and that takes us back to 1461 and

arguments that were made yesterday, Your Honor, as it relates

Sidelko case.
those cases all go to jurisdiction.
to venue. Those cases allow the United

rnography prosecution any place where the

pornography passes through, and we disagree violently with

ial court judge who said in his

e legislative history that what you're

doing is broadening the number of offenders.

 

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Of course, the defense is going to say that, but the
Supreme Court has said time and time again, in Reidel, in
Orito, and in Twelve 200-Foot Reels of 8-Millimeter Film
that is not the issue. Even though they said we're not making
the constitutional argument, but what they're saying, Your
Honor, is that he had a right to possess it in his home. Yes,
indeed, but he does not have a right to receive it, to cause
it to be transported, and there we good back again to the
aiding and abetting theory.

THE COURT: In the Orito case -- correct me if I'm
wrong, Mr. Dixon -- but they were not talking about the person
receiving the material, were they? They were talking about
the person who shipped it.

MR. DIXON: Well, Your Honor, they were talking about
the person who shipped the material under 1462, who ordered
it, but again, that case dealt with a coast to coast
situation. That didn't deal with an international situation.
And we would submit that Orito, that Orito stands for the
proposition that you can't send for it, you can't receive it.
That takes us back to --

THE COURT: It doesn't say that, Mr. Dixon.

MR. DIXON: Well, Your Honor, that takes us back
to --

THE COURT: If you can point me to where it does say

that.

 

 

 

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MR. DIXON: Your Honor, that takes us back to United

States vs. Twelve 200-Foot Reels of Super 8-Millimeter Film,

which was decided the same date as Orito. Your Honor, on page

THE COURT: 141 of?

MR. DIXON: Of OritO.

THE COURT: Yes. Just one moment. Yes.

MR. DIXON: "The District court erred in striking
down 18 U.S.C. 1462 and dismissing appelee's indictment on
these 'privacy' grounds. The essence of appelee's
contentions is that Stanley has firmly established the
right to possess obscene material in the privacy of the
home and that this creates a correlative right to receive
it, transport it, or distribute it." -- Receive,
transport or distribute. -- "We reject that reasoning."
they go on.

THE COURT: Keep reading, Mr. Dixon.

MR. DIXON: "This case was decided by the District
Court before our decisions in United States v.
Thirty-Seven Photographs and United States v. Reidel.
Those holdings negate the idea that some zone of
constitutionally, protected privacy follows such material
when it is moved outside the home area protected by
Stanley."

THE COURT: Now, I gather that the argument made in

 

 

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Orito was that, since this material was constitutionally
protected in the home, that, under the circumstances here, it
was protected, and the person who was being charged, acted --
and correct me if I'm wrong -- was the person who transmitted
the material, wasn't it?

MR. DIXON: Yes, Your Honor.

THE COURT: It wasn't the person who was transporting
the material in effect saying, "Well, look, this man can have
it in his home, and we're just transporting it to him."

MR. DIXON: Your Honor, I think what the Supreme
Court was trying to reach in Orito, and based upon Twelve
200-Foot Reels, what they were trying to reach is, you can
have it, but the government can severely limit how you get it,
and whether it's being transported -- whether Mr. Zonatz is
sending Mr. Nader the film really is not the prime point, The
prime point is, Your Honor, that you can't get it by way of
mail, by way of the mail or by way of coming in through the
border.

That is the kernel, Your Honor, we see in those
cases, and»going back to United States vs. Twelve 200-Foot
Reels, at page 125, it reads the issue is "whether the United

States may constitutionally prohibit importation of
obscene material which the importer claims is for private,
personal use and possession only."

If I am importing it myself -- all right, following

 

 

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the Court's logic, if I'm going to import this myself, I'm not
going to give it to anyone, I'm going to import it myself, I'm
going to have it for my own personal use, I can't do that,
following the Court's reasoning. I cannot do that.

Well, if I cannot import it myself, how can John Doe
mail away to Holland or mail away to someone else and have it
brought to him? That's the same principle, Your Honor. You
have a right -- it has to get to John Doe. It has to get to
your house first, Whether you import it, whether you bring it
across yourself, or whether you sit in your home and order it,
it has to pass from point A to point B and to the person'S
home.

If it can materialize in the person's home, that's
fine, but -- if Mr. Nader, Your Honor, had gone to -- say the
material had been transported, and Mr. Nader had gone to the
person's house -- he didn't transport it -- had gone to the
transporter's house, picked up the pornography and walked back
to his home, Mr. Nader would have a problem in transporting
that pornography from the person who transported it into the
United States to his home. He just can't do it. You can't
receive it, you can't deliver it. You cannot. Once he gets
it to his home, he's okay.

Your Honor, we -- under the cases that we found --

THE COURT: Can we just go back to the case we were

addressing now?

 

 

 

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MR. DIXON: Yes, sir.

THE COURT: Really, in that case, the Supreme Court
case you're dealing with, Orito, you are dealing with a person
who is the shipper, aren't you?

MR. DIXON: Yes, Your Honor.

THE COURT: And I assume -- it appears to me,
anyways -- that the issue is whether the shipper could be
prosecuted under such circumstances where he's transporting
those items to a person in his home or to his home --

MR. DIXON: Yes, Your Honor.

THE COURT: -- where that person, if he had it in his
home, would have a constitutional right to have it there.

MR. DIXON: Yes, Your Honor.

THE COURT: And 1 gather that the argument was that,
well, this is material that the person who ordered it could
have a right to have in his home, and therefore how can we be
held for that? Isn't that it really comes down to?

MR. DIXON: That's what they were arguing Your Honor,
yes, I agree with you.

THE COURT: You weren't dealing with the person who
received it in that case.

MR. DIXON: I agree with that, Your Honor. But in my
mind's eye, that sort of loops around the other question.

Here we have someone who ordered it from his home. He made

the order. He is not in -- in Orito, we don't have a

 

 

 

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receiver, we don't have anyone that Mr. Orito claimed that he
was going to give it to.

Here we have someone who actually ordered it out of
his own mouth. It's an issue of fact whether he ordered it or
not, but we -- our evidence is going to show that Mr. Nader
ordered this material himself, based upon his conversations,
with his lawyer present, with Agent Northrop, He ordered it
from overseas, from the Ralph Zonatz Company, He caused it by
filling out that order blank and sending the money. Ralph
Zonatz wouldn't -- Your Honor, Ralph Zonatz wouldn't have sent
Mr. Nader anything, had Mr. Nader not filled out the order
blank and sent in the money.

THE COURT: Or unless someone ordered it for him,

MR. DIXON: That's not an issue in the case, because
our evidence claims he ordered it.

THE COURT: It is an issue in the case, actually,
because whatever he's done, he has to do it knowingly.

MR. DIXON: He does, Your Honor.

THE COURT: That's something you have to prove.

MR. DIXON: Our evidence on the knowingly is the
interview he had when they showed him the controlled delivery
and he said I know what's in it, and the surrounding
circumstances of the clandestine routes he used to order this
stuff. If he wants to get on the witness stand, he can say I

didn't say all of that, Ms. Moolenaar can come in and testify

 

 

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no, he didn't say that, but the fact remains, Your Honor, that
is a fact that the jury, we submit, should have a chance to
deal with, and if I may, Your Honor -- just one moment,
please.

Your Honor, and again, if I may, sir, borrowing a
little logic from my adversary, because of the substantial
ramifications of this issue, that being -- at the time this
case was decided, that being the Supreme Court saying even as
a -- you just can't possess it, period. The Supreme Court is
silent on that, Your Honor.

They say our rulings today should not be read, should
not be read -- in all of the cases that I found -- our rulings
should not be read to say that a person cannot only possess
pornography in his home, but he can go to the store and buy it
and bring it back and he can order it. They do not say that.
And that is significant. That is a significant omission, and
we would submit to the Court --

THE COURT: In which case?

MR. DIXON: In all of the cases. In Orito, in Twelve
200-Foot Reels of Film, and in the other case. They do not
say that, Your Honor.

THE COURT: I guess it depends on what was asked.

MR. DIXON: Pardon?

THE COURT: It depends on the question that was

asked.

 

 

 

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MR. DIXON: It depends on what was asked, but it also
depends on the ramifications of what we have. They made a
blanket statement that you can't import it, you can't receive
it. How does someone who brings it -- well, Your Honor, I
would submit that the Court is constrained by the cases, the
Supreme Court cases and, most notably, the Hurt case --

THE COURT: The which case?

MR. DIXON: -- the Hurt case that the Court's law
clerk found, to deny the motions, and if the evidence comes
out the way that the government suspects the evidence will
come out, to deny the motion for judgment of acquittal,
because there is no -- there is no clear -- I would say it's
clearer on the side that Mr. Nader cannot cause this to be
transported than it is to say -- relying on the Sidelko case,
relying on that case that was criticized in the Hurt case, and
by implication, by implication, we would submit was overruled
in subsequent cases coming down from the Supreme Court on this
very issue.

THE COURT: Well, you keep saying on this very issue.
I wish there was a case on this very issue, but I haven't
found one on it, and I invite you to point my -- you know,
point me to a case that's on this issue.

MR. DIXON: I think, Your Honor, what the Court is
doing is relying on the factual scenario, in that all the

people caught with pornography were transporters, were people

 

 

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who were bringing it in, were people who actually had it, and
there was some thought that they were going to give it to
other people, but I don't think the Court should stop, should
limit itself there. I mean that --

THE COURT: That was the issue decided by the Court,
isn't it?

MR. DIXON: That was the issue decided, Your Honor.

THE COURT: I'm not saying that the Court may not
decide it the way you argue at some time in the future, but
that's the issue before the Court.

MR. DIXON: Your Honor, all I will say, Your Honor,
is that the way we read the cases, it allows for prosecution
similar to the one that we have today under 1461 and 1462,
because Mr. Nader was actively involved in the transportation.

We would submit, even if -- I'll go so far as to say,
even if we hadn't charged the aiding and abetting, if the
facts showed aiding and abetting during the course of the
trial, we could reasonably ask the Court to instruct the jury
on aiding and abetting, but we did charge aiding and abetting
in this case, and again, Your Honor, going back to aiding and
abetting, if Mr. Zonatz transported it and Mr. Nader aided and
assisted in the transportation, Mr. Nader is treated the same
as a principal.

THE COURT: Well, Mr. Hoffman cited a case which he

contends doesn't agree with that argument, do you recall that,

 

 

 

 

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yesterday?

MR. DIXON: No, I don't recall the case Mr. Hoffman
was referring to.

MR. HOFFMAN: Are you talking about United States vs.
Farrar, Your Honor?

THE COURT: Yes, United States vs. Farrar, reported
at 281 U.S. 624, 50 Supreme Court 425.

MR. DIXON: Well, Your Honor, as -- trusting my
memory on that particular case that Mr. Hoffman cited --

THE COURT: This concerned, I believe, whether or not
the purchaser of an item could be charged as an aider or
abettor.

MR. DIXON: Whether or not the purchaser of an item
could be charged as an aider or abettor? Your Honor, I don't
recall the particular facts in this case.

THE COURT: It says "By indictment returned in the
federal District Court for Massachusetts, the defendant
was charged with unlawfully and knowingly having purchased
intoxicating liquor fit for use for beverage purposes, in
violation of the National Prohibition Act," and as I

understand the case, he was charged as an aider and abettor.

MR. DIXON: Only --

THE COURT: Well, I think they were trying to bring
him in, as I understand the case. They can prosecute the

person who sold it, but they're also trying to bring this man

 

 

 

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in.

MR. DIXON: As an aider or abettor?

THE COURT: As an aider or abettor.

MR. DIXON: And in our case, Mr. Nader is charged
with doing the act as well as assisting in doing the act, and
they're not legally inconsistent theories. In that case, it
sounds like this man was brought in basically on the aiding
and abetting theory.

THE COURT: It seems to me the cases are pretty
close. You're saying Mr. Nader ordered something through the
mail or by common carrier, whichever, and as a result he
received something, and I guess in that case, this man ordered
something and he received something.

MR. DIXON: Well, Your Honor, what I would say to
that case, I think the statute we have, specifically the mail
statute, addresses this particular problem, and I think Mr.
Nader's act of actually sending for the pornography once he
knew about it, and assisting Mr. Zonatz -- and the same
argument could apply there, assisting this man to sell
liquor -- but what Mr. Nader did was knowingly and willfully
send off for this pornography and cause it -- now, what we're
talking about there, we're not talking about someone causing
something to come across state lines. There we're just
talking about the sale of illegal alcohol, and you need a

willing buyer and you need a willing customer.

 

 

 

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But here we're talking about taking another step,
causing something to come from one place to another, and we're
not talking about someone who is in an after-hours joint or
selling illegal liquor, and the reason he's able to stay in
business, because people come and support him, We're talking
about something totally different. There has to be another,
another step on Mr. Nader's part, another knowing, conscious,
willful step. Mr. Nader knowingly, consciously and willfully
filled out the application form using S. Nader or J. Nader,
showing that he knew that it was wrong to do what he was
doing. The statements that he gave show that he knew he was
wrong to order the material, because he wanted to hide it for
moral reasons as well as legal reasons, and he took the next
step of actually sending it away.

Your Honor, in closing, I would say that, as I have
said earlier, that the case should go to the jury based upon
the law as we see it, and I don't think that the -- I think
that the only case that really supports the defense position
has been criticized and has been, by implication, overruled by
the factual scenario put before the Supreme Court in the Orito
case and the other cases, that being the District Court case
out of Pennsylvania, saying that the reason there was a 1958
amendment to 1461 was to allow the United States to get at
each place where pornography passes through, and everyone was

up in arms about that, because they said well, what you're

 

 

 

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doing is allowing the government to forum shop, and those were
the issues, Your Honor, and the judge -- the district court
judge, we would submit, didn't have the personal possession
issue before him. He went on to find -- he went on to find --
that the legislative history of that was such that it allowed
the United States to prosecute anywhere along the continuum,
and again --

THE COURT: Let me just say, Mr. Dixon, there's no
question in my mind that you have vigorously argued throughout
this case the position of your office and the position of the
United States with respect to these charges.

Let me further say that we're not speaking about what
Mr. Nader should have done or shouldn't have done. And we're
not speaking of the evils of child pornography at this point,
I think we all know how evil that is, and the fact that if
there are not buyers, perhaps children wouldn't be engaged in
this type of activity.

As I say, if you look at the one booklet that I
mentioned before, it almost looks as though those children
were doped and they were just being posed, and it's
disgusting, and I suppose there should be some way to put an
end to it, and I gather that's why the 1984 statute was
passed. As I say, if you don't have buyers in this country,
then maybe that'll dry up some of the market.

It's one thing with adult pornography, but something

 

 

 

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else with child pornography, and this is child pornography,
there's no question about that. But of course that's not the
issue before us right now.

MR. DIXON: No, Your Honor.

THE COURT: The issue is the statute and how the
charge is made.

MR. DIXON: No, it's the statute and how Mr. Nader is
charged.

THE COURT: Mr. Hoffman.

One other thing before I hear from Mr. Hoffman. The
reason I am, again, addressing these issues at this point and
not waiting until a jury is impanelled and sworn and we hear
the evidence is, if this Court should make a ruling against
the government and that ruling is in error, I want to preserve
for the government the right to take an appeal, and of course
I would even urge them to do so, so it would be in the
government's hands, not the Court's.

Yes, Mr. Hoffman.

MR. HOFFMAN: I think you've done the government an
enormous favor here, Your Honor. I think that we would have
preferred, given the government's position in this case, to
have them put on their proof and have it dismissed, so that
Mr. Nader wasn't under this cloud any longer, but I defer to
your desire to address the question now.

Your Honor, my task, the first thing, is there have

 

 

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been some straw men built up by Mr. Dixon here in the last
couple of days. They have nothing to do with this case, and I
have got to get those things aside so we can focus on what the
issue is.

I am just perplexed as can be by the government's
continued reference to Orito and Twelve 200-Foot Reels of
Film, The Court has already read the opinions, as I detected
by the Court's questioning of Mr. Dixon, on an issue I want to
put aside right away.

These are constitutional cases, Stanley vs. Georgia
was a ruling in the late sixties saying somebody had a
constitutional right to possess materials. People then tried
to expand that constitutional right, and, as Your Honor said
correctly, in Orito the person was saying if he has a
constitutional right to possess it, I ought to have a
constitutional right to send it to him. The Supreme Court
rejected that. There's no constitutional right. They said
there's no constitutional right to receive it. I'm not
arguing that.

The Court said, well, that issue is not addressed
here. It doesn't even matter where the issue is addressed.

We are not making a constitutional argument,

There is not a word in Orito about statutory

construction. The person who is being prosecuted in Orito was

a sender. He didn't have an argument about the statute not

 

 

 

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applying to him. He was guilty if the statute was
constitutional, so he challenged the constitutionality of the
statute, The Court rejected his argument.

There is no element of statutory construction in this
opinion at all. There is also no element of statutory
construction in Twelve 200-Foot Reels of Film, which isn't
even a criminal case. That is a case under 19 U.S.C. section
1305, the civil forfeiture provision, where the government has
a right to forfeit obscenity.

The person said in that case, if I have a right to
possess it under Stanley, I have a constitutional right to
have it imported to me, and this statute is unconstitutional.
Again, no question of statutory construction and no statute
that has remotely anything to do with this case, because it's
a civil statute, Again, the Court said no constitutional
right.

Your Honor, we don't make a constitutional argument,
I know I've said that several times yesterday and today, but I
have to keep repeating. It's kind of unusual to say this, but
the strongest case to explain that difference to the Court is
the Hurt case, which the Court found yesterday, much to our
surprise, because they divide the issue correctly in that
case. They don't even mention Orito in the section that deals
with the interpretation of 1461, and I believe wrongly deals

with Sidelko. They don't even mention the case.

 

 

 

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The person made a second challenge that the statute
was unconstitutional, and they rejected that. I'm surprised
they took as long as they did, It should have been a
one-sentence rejection: The argument was considered and
rejected in Orito on a constitutional basis.

We are here because Mr. Nader is charged with a
crime. Crimes in this country are statutory offenses. If
there is no crime that makes it an offense to receive and
order material, then it doesn't matter whether it's
constitutional or not for him to have that right. lt doesn't
matter whether he has a constitutional right. There are lots
of things we don't have constitutional rights about that
aren't crimes. So we've got to put that issue aside.

This case is just completely irrelevant to Your
Honor's consideration. It doesn't say anything about whether
the statute intended to cover people who receive. All it says
is whether the statute is constitutional. That case aside,
let me deal with what the issues are in this case.

We have an issue of statutory construction. What
does 1461 and what does 1462 intend to penalize? I was -- I
heard the government's statement about Sidelko, and again I
was just floored by it, when he said that Sidelko didn't deal
with someone who possessed, and somehow the Court was
extrapolating.

Sidelko is exactly this case. I trust Your Honor

 

 

 

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knows that. It's somebody who they said made a mail order for
pornography which was mailed to him. He received it. They
charged him with, not possessing it, but with ordering it.
They said ordering it is a crime under exactly the same
rationale as we have here, and they focused on the language
which says "caused to be delivered through the mails," just as
Mr. Dixon is focusing on the language, and the Court quite
correctly, quite correctly, said that is not an offense, that
is not what Congress was doing when it passed the statute,

Your Honor, the issue is what was Congress doing.
There's one phrase in 1461'that is really the entire issue. I
don't purport to say, Your Honor, that this is a simple case
in terms of an easy case. It is, however, a simple case in
terms of what the issues are. There's only, really, one issue
under 1461. It's the meaning of the phrase "uses the mails."
That's the only issue.

All this other stuff, they're straw men. When we get
to that issue, there's a body of case law out there. There's
really only, as far as I know, four cases that are relevant to
your consideration, Your Honor: Sidelko, Reed Enterprises vs.
Corcoran, Reed Enterprises vs. Clark, and this brand new
opinion out of the Ninth Circuit.

Sidelko said there's this phrase "uses the mail."
What does it mean? 1 think it made a very telling argument.

It said, well, let's look at what it means. The statute has

 

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said since 1873 -- this is the original Comstock Act, Anthony
Comstock; it was passed in 1873 -- since that time it has
said: whoever knowingly deposits in the mail is guilty of an
offense. Whoever knowingly deposits.

All the prosecutions through history, sixty years,
always against people who deposit in the mail. Never against
people who receive. Not because of some constitutional
argument, but because that's what the statute said, that's
what it covered.

They have changed it in 1958. The Court said "uses
the mails," that phrase is not self-evident to me what that
means. Normally, I don't think, in common-sense parlance, you
think of somebody who received something in the mail as the
user of the mails, it's the sender.

But the Court said I'm going to figure out what they
meant, I'm going to look at the legislative history, Your
Honor, I have the Senate report on that bill, and Your Honor
mentioned that you had looked at the Senate report on that
bill. It is absolutely clear that there was only one intent
of Congress when they amended the statute: to reverse the
decision of the United States vs. Ross. It wasn't to prevent
the government from forum shopping, which Mr. Dixon said. It
was to allow the Government to forum shop.

There's this case out there that ruled wrongly in the

Tenth Circuit, this Ross case, that deposit in the mails meant

 

 

 

 

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you could only prosecute somebody where they placed it in the
mails, so all the pronographers went to Los Angeles or New
York -- that's the only place they could be prosecuted -- and
they couldn't get any convictions, even though they were
mailing to Iowa or Nebraska. Congress said we didn't mean
that. We meant you can prosecute them anywhere in the chain
where they sent it, so we'll use the phrase "using the mail."

There's a three-page discussion of this issue, three
full pages by the D.C. Circuit, and they said the only thing
Congress intended when they passed that statute was to expand
the venue provision of the act, no intent to expand the class
of offenders.

It's not a criminal offense, so no indictment was
dismissed. It's a declaratory judgment act about the meaning
of the statute, and they interpreted the statute, Exactly
what we're calling on Your Honor to do is what that case did.
That's what they had to do under the declaratory judgment act,
and they interpreted it to mean just what I said it meant,
that it only applies to depositors, but they could be
prosecuted in various other ways.

There is no contrary authority since 1967, I think is
the last case until this decision the Court found yesterday,
and let me“turn to that now. It's the Hurt decision out of
the Ninth Circuit, and if you'll indulge me a moment, I'd like

to find my copy of it.

 

 

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THE COURT: There is one other case that touched upon
the subject, and the name of it slips me, but I will furnish
it to counsel.

MS. OAKES: Rubin.

THE COURT: Are you familiar with the Rubin case?

MR. HOFFMAN: No, I'm not, Your Honor. Does Your
Honor know the date of it?

THE COURT: 1970.

MR. HOFFMAN: No, I'm not familiar. I may be, but if
I am, it didn't make an impression on me.

THE COURT: 312 Fed. Supp., but I forget the page
number, Central District of California.

MR. HOFFMAN: I am familiar with it.

THE COURT: It was the case in which, as I recall,
the Court focused upon who actually controlled the delivery,

MR. HoFFMAN= Ri ght .

THE COURT: And pointed out that this person
apparently had ordered a shipment. I guess it was late. He
kept checking on it. They told the shipping company to
disregard the instructions of the sender and so forth. Was
that the case you're familiar with?

MR. HOFFMAN: Yes, I'm familiar with that case.

THE COURT: Are you familiar with that case?

MR. DIXON: Yes, Your Honor, I remember.

MR. HOFFMAN: Your Honor, let me turn to this most

 

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recent Ninth Circuit case, because 1 assume it's the one that
troubled you yesterday, and 1 make no bones about the fact it
is on point, 1t discusses the right issue. 1 think it
resolves it wrongly and contrary to the law of this Circuit.
Let me deal for a moment, if 1 can, Your Honor, on why 1 think
this decision is wrong.

The first thing it says is we need not determine what
"uses the mails" means, because it is patently clear what
"uses the mail" means. 1t means uses the mail. So any
looking at the legislative history is wrong. That's what it
says. 1t criticizes Sidelko for trying to find out what
Congress meant.

That, to me, Your Honor, is -- 1 don't know if
nonsense is too strong -- but it is just a statement by them
that they don't want to deal with the issue. It is not
patently clear what "uses the mail" means. If it was clear,
this Circuit wouldn't have spent three pages figuring it out
in the D.C. Circuit case and the three-judge constitutional
court would not have said -- Your Honor, look at that opinion.
The three-judge constitutional court said the issue is
sufficiently serious that you are entitled to invoke the
special provision that forces us to have a three-judge
constitutional court to decide what the statute meant when
they amended it in 1958.

1t is the law of this Circuit, Your Honor. It has

 

 

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just demolished the notion that the Ninth Circuit said last
week that it's so clear we don't need to look at the
legislative history. We've already decided here, the law of
this District, that we do need to look at the legislative
history. They don't cite either of the Reed Enterprises
cases. 1 don't know why, they just don't. It might not have
been convenient. Maybe they didn't find them. It's hard not
to find them -- in the annotation, they're one of the only
cases that deal with this particular issue, with the meaning
of that legislation -- but for some reason they don't cite the
D.C. Circuit cases.

Having done that, they then don't address the second
principal issue that Sidelko dealt with, which is equally
serious. They talk about maxims of legislative construction,
and 1 mentioned yesterday there is one equally important to
the one they're supposedly invoking here, which is you don't
interpret a statute to make one part, especially a criminal
statute, to make one part superfluous.

Look at what this statute says, 1461. 1t has a
provision that used to say whoever deposits in the mail, and
then it lists the material, is punishable by, and then says
whoever takes from the mail if they have an intent to
distribute it to somebody else. That's not a quote, but it's
pretty close.

Now, if this case is right, they have read that

 

 

 

 

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section out of the statute, 'cause you don't need to have the
intent to distribute, 'cause merely by receiving you've
committed an offense under this case, 'cause they say you used
the mails; the phrase "used the mails" is so clear, we don't
need to interpret it. They don't even mention that section of
the statute.

Sidelko's most powerful argument -- it's a short,
succinct opinion -- is that one, is that we can't interpret it
the way the government wants us to, because what happens to
the rest of the statute? What do we think Congress was doing
when they said somebody who takes from the mails is only
guilty if they intend to give it to somebody else? They must
have meant something when they did that. They didn't write it
for no reason, and we believe what they meant is if you
deposit it that's an offense, complete in and of itself, but
on the other end, if you're on George Nader's end, you're only
guilty under this statute if you distribute it to somebody
else.

Now, Your Honor, one more time. We are not saying
and we're not arguing, the issue is not before the Court,
whether they could have done it the other way. The question
is what did they do. And what they did is correctly
interpreted in Sidelko and those two D.C. cases.

Now, Your Honor said there's no case on point. I

guess the only thing that would be -- well, Sidelko, 1 think

 

 

 

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you would recognize, is precisely on point, as is this case on
point, and 1 argued --

THE COURT: I think we were referring to the Supreme
Court cases.

MR. HOFFMAN: Well, the Supreme Court has never
interpreted this statute on this question, that is true, and
Orito certainly doesn't even purport to do that. 1t doesn't
even begin to discuss that issue.

But, absent Supreme Court precedents, the next best
thing for this Court is D.C. Circuit precedent, and the next
best thing after that would be a three-judge constitutional
court which, my understanding from law school is, has the
effect of Circuit precedent. It's more than just a District
Court opinion.

1 guess if the government wants the D.C. Circuit to
tell Judge Fahy, Judge Skelly Wright and Judge Leventhal that
they were wrong in 1957 when they decided that the only intent
of Congress in passing this amendment was to expand the venue
provisions, not the class of offenders, they can take it up,
but 1 don't think that's this Court's obligation right now to
say, because of a Ninth Circuit opinion, 1 think these judges
were wrong in interpreting this statute. That's a pretty
impressive panel, Your Honor, and 1 think they've stated the
law.

The only thing 1 could get that would be any better,

 

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if this was a case that dismissed an indictment. It doesn't,
because it's declaratory judgment, not a criminal case, but
Sidelko did dismiss an indictment on exactly these facts.

There's no distinction between the cases, and it
doesn't pay to argue there is, just like it doesn't pay for me
to pretend 1 can distinguish Hurt. I can't. 1 have to take
it on its face, as Mr. Dixon has to take these cases on their
face, and deal with them, not try and avoid them. The way I
deal with Hurt is by telling Your Honor, in all honesty, I
think it's wrong, 1 think it's contrary to our precedent.
That's all on 1461, Your Honor.

THE COURT: What about 1462? Would you address Mr.
Dixon's argument on the language in the first paragraph.

MR. HOFFMAN: Yes, Your Honor. We did in our
memorandum, and Mr. Dixon, who got our memorandum, made no
reference to it. The reason that doesn't apply is because,
again, the legislative history is clear that this statute
doesn't apply to the mails. The other one does.

THE COURT: Well, Mr. Dixon argues that it reads
"whoever brings into the United States" --

MR. HOFFMAN: 1t does read that.

THE COURT: -- ”or any place subject to the
jurisdiction or knowingly uses an express company or common
carrier." So his argument, 1 gather, is not that it was

brought in by a common carrier or express company; that it was

 

 

 

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brought in, period.

MR. HOFFMAN: That's correct. 1 know that's his
argument. He's refined that from yesterday, and 1 think
that's true, Common carrier has nothing to do with that case,
and 1 appreciate that clarification by him.

But what our memorandum points out, 1 think goes
clearly down the legislative history, is this was a statute
that was designed to fill in a gap left by the mailing
statute. See, Hurt is very instructive, Your Honor. Hurt is
a case in which the mail was sent from Sweden into the United
States. They prosecuted the man under 1461, That's the right
statute to prosecute under, if you can, because it's use of
the mails. 1462 has nothing to do with use of the mails.
It's use of other means of bringing things into the United
States.

Mr. Dixon is right. 1f somebody walked across the
border from Mexico to the United States or from Canada to the
United States with obscenity, you prosecute him under 1462,
because he brought it into the United States personally. If
you use an express company or common carrier to bring
something into the United States, you prosecute him under
1462, 1f you use the mails to bring it into the United
States, you prosecute him under 1461.

And when they passed 1461, they said we have a

certain set of people we're after, and Mr. Nader is not one of

 

 

 

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them. You can't make him one of them by trying to use a
different statute.
There isn't a single case in the annotations of
1462 -- and Hurt is the latest one -- that uses it for mails.

1t does not have anything to do with the mails. lt fills
in -- and we pointed out the legislative history in our
memorandum -- it fills in a gap.

Prior to 1905, the only regulation of transporting of
obscenity was through use of the mails. Congress said that's
a mistake. We have to close the other areas. We're going to
close it for bringing it into the United States -- if somebody
carries it across, that's the first phrase -- and we're going
to close it for using an express company or common carrier;
that's the second phrase.

They didn't enact a statute to duplicate one that
already existed. A person who sends into the United States by
mail is the sender. The depositor can be prosecuted under
1461. If it's a U.S. company that does the sending through an
overseas outlet, if it's an overseas person we can get
jurisdiction over, you can prosecute them.

As 1 said yesterday, 1 don't know what the
extradition treaties are, but if there's a company called
Ralph Zonatz or COQ, who we've got evidence ships things in
here, they can indict them, and if they have an extradition

treaty, they can prosecute them. 1 believe in some of the

 

 

 

 

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Scandinavian countries, it's now an offense. 1f they want to
undertake that prosecution, they can.

I don't think they can do what they're doing with Mr.
Nader -- the mailing statute doesn't cover his conduct -- use
something that that has nothing to do with the mails and
whipsaw him into that statute.

Mr. Dixon tries to avoid Farrar on the aiding and
abetting theory. He did so by pointing to the correct phrase.
Aiding and abetting in 1461 is superfluous, because 1461 in
the text of the statute says whoever causes to be mailed. 1t
says that already.

That's what came to the court in Sidelko, and Sidelko
said that was not intended to apply to somebody who ordered,
for the same reasons I've already gone over, and 1 don't want
to take too much time. That would mean that the person who
takes from the mails with intent to distribute, that would
read that language out of the statute.

What Congress meant when it said "causes to be
mailed" was we don't want a depositor who runs a business of
shipping pornography to hand everything to a shipping clerk,
the shipping clerk puts it in a mailbox, and he argues 1
didn't physically mail it, I'm not guilty. So they said
"whoever causes to be mailed.”

Anybody on the sending side can be prosecuted under

this statute. Anybody on the sending side. It's not just

 

 

 

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"causes to be mailed,'l it's "causes to be mailed according to
directions thereon." 1 don't know how much you can read into
the phrase, but you can certainly logically infer from that
what they're talking about is somebody on the sender's side.
The people they're after say label it this way and somebody
else mails it; those are the people who can be prosecuted on
the statute. Outside of that, Farrar governs.

Because there's a principle behind Farrar. We have
cited the general proposition. The Model Penal Code and
LaFave and Scott state the general proposition. The general
proposition is when there is a crime that necessarily involves
two people like mailing -- it's always two people, one who
sends and one who receives; just like sale, always two peoples
you can't have a sale without a purchaser and a seller --
they said when Congress has passed a criminal statute in such
a case and only penalized one side, it's illegal to sell
liquor, said nothing about the purchaser, we won't allow a
general aiding and abetting theory to bring that person in,
because it's too likely the Congressional intent was just to
punish the one side of the transaction.

There are a number of other cases involving that same
kind of thing. That's the principle. If you went to the
aiding and abetting statute, 1 think it's unnecessary here,
because we have a primary statute that has the language in

there to be interpreted itself. So 1 don't think aiding and

 

 

 

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abetting adds anything to the 1461 charge.

Your Honor, in conclusion, the one thing 1 wanted to
make sure happens here is that we decide the case for the
right reasons. 1 wanted to make sure we don't get off on this
constitutional argument which Mr. Dixon, with respect, is
throwing up as a huge smoke screen.

We have to decide what the statute prohibits, what
Congress intended to prohibit by a piece of legislation. Not
what they could have done, what they might have done, what
they constitutionally are allowed to do. Just what they did.

And what they did, 1 think case law -- these cases
we've talked about -- are much more persuasive, that argue
that what they did was they made it a crime to distribute this
material we don't like.

1 don't know why they didn't make it a crime to
receive it, but that's not Your Honor's task here and that's
not my job. 1 think somebody decided they made a mistake in
1984, at least with respect to child pornography, and you know
the statute now makes it an offense to receive it. Mr. Dixon
said yesterday that that statute does lots of things, that it
really doesn't amend this statute, and it's not inconsistent,
but they address this exact question, and they show that if
they want to make it a crime to receive, they can do it, which
is what Sidelko says.

1f Congress wanted to do it, they could have done it

 

 

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real easily, and here's what they wrote in this statute, 18
U.S.C. section 2251. The Child Protection Act of 1982
specifically provides criminal penalties for any person who,
quote, "knowingly receives material," unquote, depicting
minors engaged in sexually explicit conduct.

If Mr. Nader was indicted a year from now, we would
have a serious problem, We would not be up here arguing this
motion. We wouldn't be able to argue this motion, because
Congress said whoever knowingly receives it, but they said it
after this man was indicted. They said it after the acts in
this case took place, and obviously it would be an ex post
facto problem to apply that law to him, and for that reason 1
assume the government is not even attempting to do that.

That amendment is very illustrative, Your Honor.
It's not dispositive, but it's illustrative, 1t shows what
Congress can do when they want to, when they know how to do,
and 1 think it's for that reason that Sidelko and the two Reed
cases in this Circuit are right. They didn't do what Mr.
Dixon wants them to have done in this case.

The government right now, Your Honor, is on a crusade
against pornography. Your Honor knows that from the Attorney
General's Commission report and your own cases dealing with
that. 1 was shocked to see this case out of the Ninth
Circuit, because in twenty-some years since Sidelko, there

hasn't been another one I'm familiar with, except that case

 

 

 

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which is different, it doesn't go after somebody who ordered
the material. But they've decided to prosecute these cases
now, and they've made a policy judgment, What they're trying
to do is stretch a statute beyond its proper limits.

Their remedy now, Your Honor, is to go and have them
amend 1461 if they want to, and that is something they can do,
and then they can address the policy concerns that Your Honor
has expressed, that everybody shares here, but you can't do it
by prosecuting somebody under a statute that didn't apply when
it was passed. Thank you.

THE COURT: Mr. Dixon, anything else you wish to
argue?

MR. DIXON: No, Your Honor, 1 think our position is
clear, that, obviously, the statute, in our view, applies to
Mr. Nader's conduct, 1461 and 1462.

THE coURT= All right.

With respect to 1462, so 1 know exactly what the
government is saying, and what they intend to offer, it isn't
that this came to the United States by way of a common carrier
or by express?

MR. DIXON: No, sir. The indictment doesn't charge
that.

THE COURT: Because those are not the facts.

MR. DIXON: No, sir. Let me just say this, We are

not charging him with that, but we can show factually that

 

 

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that is the only reasonable circumstances by which they came
to the border of the United States. Once they arrived in the
United States, then the mails were used.

But putting that aside for a moment, we charge, so
Mr. Nader can defend against and Mr. Nader through discovery
and other means, either through common sense or talking to us
otherwise knows -- 1 mean common sense tells you, you just .
can't -- there are only two ways to get mail from Holland or
Denmark or any other foreign country to the United States, and
that's by air and by sea.

THE COURT: By what?

MR. DIXON: By air and by sea. The airmail goes into
Kennedy, the shipping comes into New Jersey.

But putting that aside for a moment, the indictment
charges Mr. Nader with bringing it in. We do not charge him
with using a common carrier to bring it in. There's a factual
basis for it, but we did not charge him with that. We charged
him, in my view, with the broadest -- the shotgun approach to
1462, because that first phrase in 1462 covers everything. 1t
covers mail, it covers walking across, it covers everything.

THE COURT: They didn't need the language referring
to common carriers and express companies?

MR. DIXON: Not in my view, no, sir. Now, if Mr.
Nader later on, in trying to defend himself, says "Wait a

minute, government, wait a minute. This is too broad. Be

 

 

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more specific. What's your bill of particulars? How are you
claiming 1 allegedly violated the statute?" "Well, you did so
by A, B and C."

But Mr. Nader never took that tack, because 1461
talks about the mails. Just because we charged 1461 does not
necessarily mean we can't charge 1462 if there's a mailing,
but -- but, but, but -- if we're talking about, say,
stretching the imagination, someone on a private boat bringing
the material from England, say, to the United States, the
mails don't apply, 1461 does not apply, 1462, if the first
part -- I'm sorry, 1462, common carrier, doesn't apply, but
the first phrase of 1462 does, just by merely bringing it into
the United States.

THE COURT: Mr. Nader did not do that.

MR. DIXON: No, sir. No, sir, he did not do that, he
did not use -- he did not physically bring it in himself, all
right, and that's --

THE COURT: He didn't bring it in by common carrier.

MR. DIXON: No, sir. No, sir. 1t came in by common

carrier.

THE COURT: 1t came in by mail.

MR. DIXON: In order to for it to be transported from
New Jersey to Washington, D.C., the mails come into play, but
we don't have the mails in play going from Holland to the

United States. We're talking about a common carrier.

 

 

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THE COURT: You don't have U.S. mails, you have
mails.

MR. DIXON: We have carriers that carry it, that
contract with the United States Postal Service to carry mail.
That's what we have.

THE COURT: But that's the mail.

MR. DIXON: Well, if we're talking about --

THE COURT: There are cases under the private express
statutes, as you know, that deal with this issue.

MR. DIXON: We're talking about domestic mail and
international mail. 1 would agree they, indeed, are the mail,
because the restrictions are different, as far as searching,
and that's been gone over, as far as searching those pieces of
mail. Mail that comes from other countries can be searched
almost with impunity, while, of course, there's another issue
for domestic mail.

But to answer the Court's question, we rely, as the
indictment charges, on the language in the first phrase of
1462.

THE COURT: So what you're really doing is reading
1462 to include mails.

MR. DIXON: Yes, sir.

THE COURT: And that's how it came --

MR. DIXON: Yes, sir, to include mails, but not

exclude mails. 1462 includes, but does not exclude, the mail.

 

 

 

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THE COURT:

you're referring to?
MR. DIXON:
THE COURT:
our record is clear.
MR. DIXON:
THE COURT:
it in personally.
MR. DIXON:
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express.
MR. DIXON:

facts do not support

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MR. DIXON:
United States.
THE COURT:
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MR. HOFFMAN:

 

 

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And, therefore, when you rely on the

phrase "whoever brings into the United States," that's what

Yes, sir.

Because -- and 1 just want to make sure

Yes, indeed. Yes, indeed.

We're not saying that Mr. Nader brought

No, we're not saying --

He didn't bring it by common carrier or

We are not saying that Mr. Nader -- the

the theory that Mr. Nader brought it in

personally. The facts support the theory that Mr. Nader

started a chain of causation that ultimately brought --

And this stuff was mailed --
Yes.
-- from Zonatz in Holland.

1n Holland to Mr. Nader here in the

Anything else from you, Mr. Hoffman?
I__
1 think you've exhausted it.

As long as the last statement by Mr.

 

 

 

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Dixon is the concession the Court was trying to ring out of
him, rather than everything in between, then 1 have nothing
else to say.

THE coURT= All right.

Gentlemen, 1 am going to recess, because something
else, which may have some impact, has been brought to my
attention, and 1 want to have -- 1 haven't had a chance to
look at that, and 1 do want to look at that before 1 rule,
But 1 -- well, before 1 say anything, 1 better look at what
else has been found.

So we'll stand in recess, and 1 think we'll just take
our luncheon recess, We'll stand in recess until l:45. The
jurors may be excused for that period of time.

MR. POVICH: Your Honor, could 1 ask if what Your
Honor has under consideration is an opinion or a case?

THE COURT: No, 1 think it's the legislative history
of the 1984 act.

MR. HoFFMAN= oh, okay.

THE COURT: And there may be something in it that 1
would want to read.

Counsel, if you'll let us know where you can be
reached, if we see something that we think is particularly
significant, 1 will let you know.

MR. POVICH: I'm sorry, 1 didn't hear exactly when

you asked us to return here?

 

 

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THE COURT: 1:45.

MR. HOFFMAN: 1 suspect we'll be here.

MR. POVICH: We'll be here, Your Honor.

MR. HOFFMAN: We'll just be here waiting for Your
Honor.

MR. DIXON: As will the government, Your Honor.

(At 12:35 p.m., a luncheon recess was taken.)

AFTERNOON SESSION
(1:55 p.m.)

THE COURT: Counsel, the final matter under
consideration by the Court was the question of whether Mr.
Nader is a person who can be charged under 18 U.S.C. 1461 and
18 U.S.C. 1462.

1 would note, first, that this is a matter, of
course, that came to the attention of the Court quite
recently, and we haven't had an awful lot of time to consider
all of the ramifications of the statute, but we have made
every effort to review those cases that are applicable here,
we've made every attempt to review the legislative history
that was available to us, and, of course, the facts in this
case.

Yesterday, although this Court had some concerns
about the matter raised in papers filed by the defendant,
concerns over whether or not this case could go forward, 1

thought it best, since we had a jury panel available, that we

 

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begin to select the jury and begin that process. As you know,
we heard arguments yesterday on these issues, and we went
forward to begin the selection process. That gave us the
evening to consider some matters. Then, of course, this
morning we heard further arguments.

First, 1 would start with the proposition that this
is a case which is not brought under the child pornography
statute of 1984. As 1 understand, the reason it was not
brought under those statutes is because the events which
occurred in this case occurred prior to the effective date of
that legislation.

1f the case had been brought under those statutes, it
would appear that there would be no issue and the case could
go forward, 1 say if it was brought under those statutes,
because I'm not ruling on that issue, of course -- I'm not
saying that there may not be issues that would be raised under
those statutes as well -- but because we really don't have to
consider those matters here.

Now, the first statute that Mr. Nader is charged
against is 1461. We've had sufficient discussion about 1461,
and 1 do not intend at this point to set down in detail my
ruling, because it will be my intention to, within a week,
issue a formal written ruling, so that that would be made
available to counsel for whatever purpose they wish to make of

it.

 

 

 

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The Court would also note, before announcing its
ruling, that, of course, we are all concerned about materials
of the nature seized in this case. This Court has had an
opportunity to review the material that was seized in the
controlled package, and 1 can well understand how the grand
jury would have no difficulty in classifying that material as
pornography or child pornography. Counsel themselves have
conceded that at least some of the material is obscene. Not
all of the material, as 1 see it, is obscene, but it all does,
apparently, relate to a particular area involving young
children, in most cases, young boys, but in a few cases, young
girls.

And of course we can well understand the desire of
the government to prosecute any cases involving child
pornography in any way they can, because it is not just the
person, 1 suppose, who transmits that material in the mail, it
is the person who may receive it or use it, because those
persons create a market for this type of material.

The great concern is we're not dealing here with
adults, we're dealing with children, and there may be cases
where children do not voluntarily enter into these
arrangements for this type of posing, and even if they do,
quote, "voluntarily," end of quote, enter into these
arrangements, they are children who probably do not realize

the consequences of what they're doing, and certainly, they

 

 

 

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should be protected.

So 1 must start off first by saying that 1 can fully
understand the government's attempts to prosecute cases where
child pornography is involved. But, of course, it's not the
intention that we have to look at in this situation. It comes
down to whether or not the prosecution can properly go forward
under the statutes involved.

Now, with respect to 18 U.S.C. section 1461, of
course, two cases have been brought to our attention, There
were other cases that discuss that statute, but the two
primary cases, as 1 see it, are the case of United States vs.
Hurt, H-U-R-T, which was decided by the Ninth Circuit Court of
Appeals on July 25, 1986, Friday, this past Friday, and in
that case, the Court of Appeals addressed the very issue that
is before us in this Court, and held that the person who
receives the matter, the obscene matter, can be prosecuted.

The other case is United States vs. Sidelko, which is
reported at 248 Fed. Supp. 813, a 1965 opinion, which our
research indicates was not appealed, and in that case, the
United States District Court judge, Judge Nealon, whom 1 have
appeared before in the past, ruled that 1461, section 1461,
would not apply to a situation like that we have before us.

Judge Nealon, N-E-A-L-O-N, in considering that
matter, went back and looked at the legislative history of the

statute, and based upon that, he concluded, and 1 quote, at

 

 

 

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page 815, quote: "There is nothing in the amendment or its
legislative history" -- he was referring there, of course,
to the 1958 amendment -- "to indicate that Congress
intended to expand the class of offenders to those
recipients who order and receive nonmailable materials
through the mails for purely private consumption," end of
quote.

The Court of Appeals for the Ninth Circuit considered
that opinion and disagreed with it, because the Court found
that it was unnecessary for the District Court in the Middle
District of Pennsylvania to look at the legislative history.
The Court found that the statute, as written, was plain on its
face.

Now, as 1 said before to counsel, 1 am only trying to
give you a brief indication of the reasons for the actions I'm
taking today. 1 will write an opinion, and 1 do not intend to
set forth my reasons in detail here, but after reviewing the
decision in Hurt and the decision in Sidelko, 1 find that, in
my opinion, the decision by the United States District Court
for the Middle District of Pennsylvania is well reasoned and
should be followed by this Court. That being the`case with
respect to that, the Court would find that 18 U.S.C. section
1461 would not be a statute under which Mr. Nader can be
charged.

Now, of course, that doesn't end the issue, because

 

 

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the government also argues that Mr. Nader can be also charged
as an aider and an abettor, but 1, having read the case of
United States vs. Farrar, 1 must also conclude that Mr. Nader
is in the position of a purchaser here, and therefore, if
Congress had intended to include the receiver of this type of
material under the statute, that they would have done so.

They have not done so.

1 would also note that the Sidelko case was decided
in 1965. Congress has certainly had an opportunity since 1965
to consider that legislation or that case, rather, and to
enact legislation to correct any void that they found in the
statute. They have not done so, and 1 can only conclude that
they have not done so because they did not intend to.

So the Court concludes, very briefly, gentlemen, that
with respect to the charges filed under 18 U.S.C. 1461, 18
U.S.C. section 2, aiding and abetting, that charge against Mr.
Nader must be dismissed.

That still leaves the other charge made against Mr.
Nader under 18 U.S.C. 1462. The government has conceded, and
1 think the record is clear, that in this particular case the
material was not transported into this country by way of a
common carrier, and it was not walked across the border or
driven across the border in some way by Mr. Nader, 1t was
sent through the mails. It was sent through the mails of the

originating country, Holland, and it was sent through the

 

 

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United States mails, where this material was intercepted.

Since that time, since the time of the passage of the
statute, 1 would note that Congress has given consideration to
other statutes to close gaps which may exist because 1461 and
1462 do not cover every situation. One such statute for
example was 1465, and that was used to close what Congress
felt was a gap in the statute, which would not allow the
prosecution of certain persons dealing with obscene materials,
and, indeed, 1 think that the 1984 act found in 18 U.S.C. 2251
to 2255 is just an attempt to close that gap, especially where
it relates to pornographic materials relating to children,

Now, again, looking at 1462, as the Court has, and
looking at the authorities cited by the parties, the Court
will also announce its intention to rule that Mr. Nader cannot
be prosecuted under 1462 and that that charge must also be
dismissed.

Again, 1 can appreciate the desire and the intent of
the government in attempting to prosecute these cases, a case
like this, There's no question in this Court's mind, as I
think 1 indicated in a memorandum order, a memorandum opinion
filed with respect to the motion to suppress, as counsel have
conceded, that the material is obscene, but we are bound by
what the statute tells us, we are bound by what the statute
states, and Mr. Nader can only be prosecuted under those

statutes,

 

 

 

 

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Now, the Court could have allowed this matter to go
to trial, impanel a jury, and present this case to a jury, and
then, of course, the first question would be the matter of
instructions. 1 certainly could not in good conscience, in
good faith, allow the government to go forward without at
least putting the government on notice of the Court's
concerns, and if the case had gone forward, 1 had been asked
to give certain instructions, and indeed, if 1 had adopted
what the Court has found today, 1 suppose at the conclusion of
the government's case, the Court would be in a position of,
perhaps, directing a verdict or possibly letting the case go
forward and then directing a verdict.

1 don't think that would be fair to the government,
and 1 don't think that would be fair to the people concerned
with these matters. At least by ruling on these matters
pretrial and before the jury has been selected and before
jeopardy has attached, it at least gives the government an
opportunity to appeal the Court's ruling, if the government
feels it can do so, and if the government feels it wishes to
do so.

So, gentlemen, 1 will enter an order within a few
days. I'm not entering the order today, I'm announcing my
intention to enter an order, because 1 think the government
should have an opportunity to read what 1 write before they

decide whether to appeal. But 1 will enter an order within a

 

 

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few days, together with a memorandum opinion setting forth the
reasons why the Court is dismissing the charges against Mr.
Nader.

Do counsel have any questions?

MR. DIXON: Your Honor, I'm just trying to make sure
for any subsequent purposes that the record reflects all that
it should.

The Court, of course, is making no finding -- well,
the Court has made a finding on obscenity.

THE COURT: Well, 1 don't think there's any issue on
that. Even the defendant has conceded that the material is
obscene, and 1 think 1 also made that finding in the
memorandum opinion.

MR. DIXON: Now, one sticky point, Your Honor. If
the government is to appeal, as far as that factual record --
1 think the factual record in this case, the Court has gleaned
from prior hearings and submissions of parties -- but the
record of the facts as to how this relates to 1461, the
mailings in 1462, have been received by the Court through
representations of both counsel. 1 don't think that that
would create a problem as far as the factual basis, but the
Court can make the factual findings and reach conclusions of
law based upon what it has before it.

THE COURT: Again, 1 stress that 1 do intend to put

it in writing.

 

 

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MR. DIXON: YeS.

THE COURT: And, obviously, 1'm just touching --

MR. DIXON: Yes. Aside from that, Your Honor, we
think that the record at this point is in a state that, if
there is an appeal, that both parties would be in a good
position to advocate their respective positions.

THE COURT: Well, if the government -- you know, 1
would -- I'm neutral in the matter, of course, but it is a
matter of concern, I'm sure, to the government.

MR. DIXON: Yes, Your Honor, it is.

THE COURT: And 1 would say to the government that 1
certainly invite you to file an appeal, because maybe the
matter should be clarified by the Court of Appeals.

One of the things the Court did take into
consideration with respect to 1461 is the fact that our Court
of Appeals has in a way addressed that issue, and 1 think that
the conclusion that our Court of Appeals reached and our
three-judge court reached is different than the conclusion
reached by the Ninth Circuit, and that's another factor that 1
found persuasive, as well as certain matters in the
legislative history that 1 will make an attempt to set out
when 1 file something in writing.

MR. DIXON: Well, Your Honor, 1 don't think that
anyone can quarrel with the procedural result, as to how this

case reached the point where it is today procedurally, but of

 

 

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course, the government has its view of the law and that's
quite different than the Court's.

THE COURT: And 1 encourage it to appeal.

MR. DIXON: Yes, Your Honor. 1 understand, Your
Honor.

THE COURT: All right, is there anything else?

MR. HOFFMAN: Your Honor, one brief matter, 1 wanted
to alert the Court to something that we intend to submit. We
would request, since there has been no trial and, obviously,
Mr. Nader has not been found guilty, the Court issue a
published opinion in the name of a John Doe defendant and the
Court of Appeals take this case in the name of a John Doe
defendant, In support of that, we will submit something,
address it to the Court's discretion to do that, but prior to
something being published, 1 want to alert the Court that we
intend to make such a submission.

THE COURT: Of course you should keep in mind that
there's already something published.

MR. HOFFMAN: 1 know that, Your Honor, but the
something that is published is not going to be going to the
Court of Appeals.

THE COURT: IS not going tO be what?

MR. HOFFMAN: Going to the Court of Appeals on an
appellate issue, at least not in this posture, and if we had

been aware of the Court's desire to publish that opinion, we

 

 

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64

would have said the same thing, but it slipped us by and it
became too late, but in this situation -- 1 just wanted to
alert the Court that we will do it.

THE COURT: You haven't done it yet. You may do it.

MR. HOFFMAN: Yes, We intend to look at it, and 1
just didn't want anything to come out and be sent to West
Publishing Company before we had our opportunity.

THE COURT: I'm sure that we'll hear from Mr. Dixon
on that issue.

Counsel have anything else?

MR. DIXON: No, sir, Your Honor, not from the United
States.

MR. POVICH: No, Your Honor. Thank you.

MR. HOFFMAN: Thank you, Your Honor.

(At 2:25 p.m., the hearing on the matter was

concluded.)
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1 hereby certify that the foregoing is the official
transcript of proceedings in the hereinbefore-captioned
matter, and that it is complete and accurate to the best of my
knowledge and ability.

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